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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                     ) Criminal No. 1:22-cr-00015-APM
  UNITED STATES OF AMERICA,                          )
                                                     )
                         v.                          )
                                                     )
  KELLY MEGGS, JESSICA WATKINS,                      )
  KEN HARRELSON, STEWART                             )
  RHODES, THOMAS CALDWELL                            )
                                                     )
                   Defendants                        )



                                                     ORDER
        Based upon the Defendants’ Joint Motion to Transfer Venue per Crim. Pro. Rule 21(a), any

opposition thereto, any reply in support of the motion, and the entire record before this court, the Motion

the motion transfer to: a) the Western District of Virginia or b) Eastern District of Virginia is hereby

granted, to ensure the right of an impartial jury.

                                        ________________________________
                                        The Hon. District Judge Amit P. Mehta
                                        United States District Court Judge


Copies to all Counsel via ECF
